            Case 1:23-cv-08530-VMS Document 8 Filed 11/16/23 Page 1 of 3 PageID #: 50

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                      SAMY LAPOINTE                                     )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                           Civil Action No. 23-cv-8530 VMS
                                                                        )
 BELLAS ICE CREAM TRUCK, INC., BELLA’S ICE                              )
CREAM NY, INC., & GUS TOUFOS, In His Individual                         )
            and Official Capacities.                                    )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           BELLAS ICE CREAM TRUCK, INC.
                                           1436 140th Street,
                                           Whitestone, NY 11357




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Gregory Calliste, Esq.
                                           Phillips & Associates PLLC
                                           45 Broadway Suite 430,
                                           New York, NY 10006


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                BRENNA B. MAHONEY
                                                                               CLERK OF COURT


Date:    11/16/2023                                                            s/Kimberly Davis
                                                                                          Signature of Clerk or Deputy Clerk
            Case 1:23-cv-08530-VMS Document 8 Filed 11/16/23 Page 2 of 3 PageID #: 51

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                      SAMY LAPOINTE                                     )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                           Civil Action No. 23-cv-8530 VMS
                                                                        )
 BELLAS ICE CREAM TRUCK, INC., BELLA’S ICE                              )
CREAM NY, INC., & GUS TOUFOS, In His Individual                         )
            and Official Capacities.                                    )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           BELLA’S ICE CREAM NY, INC.
                                           1436 140th Street,
                                           Whitestone, NY 11357




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P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Gregory Calliste, Esq.
                                           Phillips & Associates PLLC
                                           45 Broadway Suite 430,
                                           New York, NY 10006


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You also must file your answer or motion with the court.

                                                                                BRENNA B. MAHONEY
                                                                               CLERK OF COURT


Date:    11/16/2023                                                            s/Kimberly Davis
                                                                                          Signature of Clerk or Deputy Clerk
            Case 1:23-cv-08530-VMS Document 8 Filed 11/16/23 Page 3 of 3 PageID #: 52

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                      SAMY LAPOINTE                                     )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                           Civil Action No. 23-cv-8530 VMS
                                                                        )
 BELLAS ICE CREAM TRUCK, INC., BELLA’S ICE                              )
CREAM NY, INC., & GUS TOUFOS, In His Individual                         )
            and Official Capacities.                                    )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           GUS TOUFOS
                                           1436 140th Street,
                                           Whitestone, NY 11357




          A lawsuit has been filed against you.

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P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Gregory Calliste, Esq.
                                           Phillips & Associates PLLC
                                           45 Broadway Suite 430,
                                           New York, NY 10006


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                BRENNA B. MAHONEY
                                                                               CLERK OF COURT


Date:    11/16/2023                                                            s/Kimberly Davis
                                                                                          Signature of Clerk or Deputy Clerk
